Case: 1:22-cv-00204-MRB-SKB Doc #: 60 Filed: 10/02/23 Page: 1 of 1 PAGEID #: 685




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                 WESTERN DISTRICT

 JOSE MARIA DECASTRO                             ) Case No. 22-cv-00204
                                                 )
               Plaintiff,                        ) NOTICE OF APPEAL
                                                 )
 vs.                                             )
                                                 )
 PAM WAGNER, et al.                              )
                                                 )
            Defendants.                          )
 __________________________________              )

                              PLAINTIFF’S NOTICE OF APPEAL

       Plaintiff Jose Maria DeCastro appeals to the United States Court of Appeals for the 6th

Circuit from the final judgment entered on September 26, 2023, as well as any and all

interlocutory rulings, decisions and orders that gave rise to said judgements, and all post-

judgement rulings, decisions, and orders.

DATED: September 28, 2023                          Respectfully submitted,

                                                   /s/ Jose Maria DeCastro
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                                  CERTIFICATE OF SERVICE

      I hereby certify that this document filed through the CM/ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing.

                                                   /s/ Jose Maria DeCastro
